 Case 1:16-cv-01117-GJQ-PJG ECF No. 41 filed 09/19/17 PageID.335 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN


 ADE BROWN #884273,

       Plaintiff,                              Hon. Gordon J. Quist

 v.                                            Case No. 1:16-cv-01117-GJQ-PJG

 JESSICA PERRY, et al.,

      Defendants,
 ________________________________/

                                      ORDER


      This matter is before the Court on Defendant's Motion for Leave to File Late

Reply Brief. (ECF No. 39). Upon review, defendants MDOC will be granted leave

to file a late reply brief under W.D. MICH. CIVR 7.2(c) and defendants’ reply brief

will be deemed filed instanter. Accordingly,

      IT IS ORDERED that Defendants’ motion (ECF No. 39) is hereby

GRANTED. Defendants’ reply brief (ECF No. 39-2) is deemed filed instanter.

      IT IS SO ORDERED.



Date: September 19, 2017
                                               /s/Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge
